                            IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS

FERRELL COMPANIES, INC., as Plan                )
Sponsor and Plan Administrator of the           )   Case No. 2:19-CV-2656-JAR-ADM
Ferrell Companies, Inc., Employee Stock         )
Ownership Plan,                                 )
                                                )
                    Plaintiff,                  )
                                                )
        v.                                      )
                                                )
GREATBANC TRUST COMPANY,                        )
Directed Trustee of the Ferrell Companies,      )
Inc. Employee Stock Ownership Trust,            )
                    Defendant.                  )
                                                )
GREATBANC TRUST COMPANY,                        )
Trustee of the Ferrell Companies, Inc.          )
Employee Stock Ownership Trust,                 )
                                                )
                    Counterclaim-Plaintiff,     )
                                                )
        v.                                      )
                                                )
FERRELL COMPANIES, INC., as Plan                )
Sponsor and Plan Administrator of the           )
Ferrell Companies, Inc., Employee Stock         )
Ownership Plan,                                 )
                    Counterclaim-Defendant.     )
                                                )

             GREATBANC TRUST COMPANY’S MOTION FOR A
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Defendant/Counterclaim-Plaintiff GreatBanc Trust Company (“GreatBanc”), by and

through its counsel and pursuant to Rule 65 of the Federal Rules of Civil Procedure, hereby moves

this Honorable Court to grant GreatBanc a temporary restraining order and preliminary injunction

against Plaintiff/Counterclaim-Defendant Ferrell Companies, Inc. (“Ferrell”). In support thereof,

GreatBanc states as follows:




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        1.          For over thirteen years, GreatBanc has served as Trustee of the Ferrell Companies,

Inc. Employee Stock Ownership Plan (the “Plan”). The Plan’s primary asset, held by the Trust, is

100% of Ferrell’s stock. Ferrell, Plan Administrator and an ERSIA fiduciary for the Plan, has,

through years of mismanagement, put the Plan’s assets at imminent risk of irreparable harm.

Ferrell’s operations are conducted through a subsidiary of its publicly-traded affiliate, Ferrellgas

Partners, L.P. (“Ferrellgas”). The price of Ferrellgas units has declined 98% from its peak five

years ago and is now less than $0.60 per unit, putting the company at risk of delisting. It also

recently announced in SEC filings that a creditor has declared its operating subsidiary in default

on a $275 million principal loan and that its auditors have expressed substantial doubt as to the

operating subsidiary’s ability to continue as a going concern, following which S&P downgraded

Ferrellgas. Ferrell and its affiliates are saddled with an outsized $2.2 billion in debt.

        2.          In response to Ferrell’s mismanagement, GreatBanc, on behalf of Plan participants

(Ferrell employees), has repeatedly requested information from Ferrell regarding its financial

performance and future plans and has conveyed to Ferrell’s board of directors (“Board”) proposals

received by GreatBanc from various constituencies interested in, among other things, providing

financing and/or restructuring assistance to the Company. The Board has rebuffed GreatBanc’s

efforts at every turn.

        3.          After months of stonewalling, Ferrell shifted to a more aggressive strategy to

undermine GreatBanc’s ability to monitor and preserve Plan assets. In late July, Ferrell informed

GreatBanc that it had adopted an amendment to the Plan to ensure that GreatBanc would have to

take direction from Ferrell in voting Ferrell stock. Thereafter, just days prior to the SEC filing and

ratings downgrade discussed above, and without warning, Ferrell terminated GreatBanc as Plan

Trustee with 30 days’ notice.



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        4.          Having exhausted all other means of discharging its own ERISA fiduciary duties,

GreatBanc wrote to Ferrell advising that it had committed numerous ERISA fiduciary breaches

and requesting that Ferrell issue a direction for GreatBanc to elect a slate of new directors to

replace the Board.

        5.          Ferrell commenced this lawsuit the next day.

        6.          Unless Ferrell is restrained and enjoined pursuant to the terms of the proposed

Temporary Restraining Order and Preliminary Injunction filed herewith, Plan assets will continue

to deteriorate, placing the Plan and its participants and beneficiaries in imminent risk of irreparable

harm. GreatBanc, in its capacity as Plan Trustee, has no adequate remedy at law and will suffer

immediate and irreparable harm without entry of such Order.

        7.          GreatBanc expressly incorporates herein its Verified Answer and Defenses to

Plaintiff’s Complaint and Verified Counterclaims (“Counterclaims”), Exhibits 1 through 3

attached to the Counterclaims and its brief in support of this motion.

        WHEREFORE, GreatBanc respectfully requests that the Court grant its Motion for a

Temporary Restraining Order and Preliminary Injunction and enter the proposed Temporary

Restraining Order submitted with this motion, and for such other and further relief as the Court

deems just and proper.




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 Dated: November 1, 2019
                                                     Respectfully submitted,
 Of Counsel:
                                                     SHOOK, HARDY & BACON
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                                                     Attorneys for Defendant/Counterclaim-Plaintiff
                                                     GreatBanc Trust Company


                                CERTIFICATE OF SERVICE

        I certify that on November 1, 2019, the foregoing paper was served upon Counsel for

Plaintiff via the Court’s ECF system.

                                                      /s/ Todd W. Ruskamp
                                                     Todd W. Ruskamp
                                                     Attorney for Defendant/Counterclaim-Plaintiff
                                                     GreatBanc Trust Company




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